                         IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS

 ANGELIINA LYNN LAWSON,                    )
                                           )
                         Plaintiff,        )
                                           )
 V.                                        )    Case No. 2:25-cv-02199-TC-ADM
                                           )
 HON. ERIC W GODDERZ                       )
 (Individual and official capacity)        )
                        Defendants.        )


                        NOTICE OF ADDRESSES FOR SERVICE PURPOSES


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